Case 2:23-cv-09430-SVW-PD   Document 77-1   Filed 10/03/24   Page 1 of 5 Page ID
                                   #:617



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    Attorneys for PLAINTIFF
 15 ROBERT HUNTER BIDEN
 16                     UNITED STATES DISTRICT COURT
 17                    CENTRAL DISTRICT OF CALIFORNIA
 18                             WESTERN DIVISION
 19 ROBERT HUNTER BIDEN, an                  Case No. 2:23-cv-09430-SVW-PD
    individual,
 20                                          DECLARATION OF ZACHARY C.
                Plaintiff,                   HANSEN IN SUPPORT OF
 21                                          PLAINTIFF ROBERT HUNTER
          vs.                                BIDEN’S EX PARTE
 22                                          APPLICATION TO SEAL THE
    PATRICK M. BYRNE, an individual,         JOINT STATEMENT OF
 23                                          UNRESOLVED DISCOVERY
                Defendant.                   ISSUES AND EXHIBITS 1-6 & A-L
 24                                          (DKT. # 76 THROUGH 76-18) AND
                                             REPLACE WITH REDACTED
 25                                          VERSIONS
 26                                          Filed concurrently with Ex Parte
                                             Application and [Proposed] Order
 27
                                             Date: October 4, 2024
 28                                          Time: 9:00 AM


           DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF EX PARTE APPLICATION
Case 2:23-cv-09430-SVW-PD   Document 77-1   Filed 10/03/24    Page 2 of 5 Page ID
                                   #:618



  1                                             Ctrm.: 580
  2                                             Judge: Hon. Patricia A. Donahue,
                                                Ctrm. 580
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           DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF EX PARTE APPLICATION
Case 2:23-cv-09430-SVW-PD     Document 77-1       Filed 10/03/24   Page 3 of 5 Page ID
                                     #:619



  1                   DECLARATION OF ZACHARY C. HANSEN
  2        I, Zachary C. Hansen, declare and state as follows:
  3        1.     I am an Associate within the law firm of Early Sullivan Wright Gizer &
  4 McRae LLP, attorneys of record for PLAINTIFF ROBERT HUNTER BIDEN herein.
  5 I submit this declaration in support of Plaintiff’s Ex Parte Application. If called as a
  6 witness, I would and could testify to the matters contained herein.
  7        2.     Pursuant to Central District Local Rule 7-19.1 I made a reasonable, good
  8 faith effort to advise counsel for Defendant Patrick Byrne (“Defendant”) of the date
  9 and substance of the instant Application on October 2, 2024. On October 3, 2024,
 10 Defendant’s counsel informed me that Defendant would join in the requested relief
 11 sought by the instant ex parte application.
 12        3.     Defendant’s counsel marked Exhibit L “Highly Confidential and to be
 13 Filed Under Seal” (Dkt. # 76-18) because, according to Defendant’s counsel, it
 14 contains information relating to Defendant’s location, which is highly sensitive
 15 information because Defendant claims his life is at risk. Furthermore, references were
 16 made to Defendant’s location in the Statement and in the other various Exhibits
 17 thereto.
 18        4.     Due to confusion on my part, the Statement, including Exhibit L, were
 19 inadvertently filed in unredacted form.
 20        5.      A true and correct copy of the redaction version of the Joint Statement
 21 of Unresolved Discovery Issues, originally filed as an unredacted version at Docket
 22 No. 76, is attached hereto as Exhibit A.
 23        6.     A true and correct copy of the redaction version of the “Exhibit 1” to the
 24 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
 25 version at Docket No. 76-1, is attached hereto as Exhibit B.
 26        7.     A true and correct copy of the redaction version of the “Exhibit 2” to the
 27 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
 28 version at Docket No. 76-2, is attached hereto as Exhibit C.

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           DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF EX PARTE APPLICATION
Case 2:23-cv-09430-SVW-PD     Document 77-1     Filed 10/03/24   Page 4 of 5 Page ID
                                     #:620



  1        8.     A true and correct copy of the redaction version of the “Exhibit 3” to the
  2 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
  3 version at Docket No. 76-3, is attached hereto as Exhibit D.
  4        9.     A true and correct copy of the redaction version of the “Exhibit 4” to the
  5 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
  6 version at Docket No. 76-4, is attached hereto as Exhibit E.
  7        10.    A true and correct copy of the redaction version of the “Exhibit 5” to the
  8 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
  9 version at Docket No. 76-5, is attached hereto as Exhibit F.
 10        11.    A true and correct copy of the redaction version of the “Exhibit 6” to the
 11 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
 12 version at Docket No. 76-6, is attached hereto as Exhibit G.
 13        12.    A true and correct copy of the redaction version of the “Exhibit A” to the
 14 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
 15 version at Docket No. 76-7, is attached hereto as Exhibit H.
 16        13.    A true and correct copy of the redaction version of the “Exhibit B” to the
 17 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
 18 version at Docket No. 76-8, is attached hereto as Exhibit I.
 19        14.    A true and correct copy of the redaction version of the “Exhibit C” to the
 20 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
 21 version at Docket No. 76-9, is attached hereto as Exhibit J.
 22        15.    A true and correct copy of the redaction version of the “Exhibit D” to the
 23 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
 24 version at Docket No. 76-10, is attached hereto as Exhibit K.
 25        16.    A true and correct copy of the redaction version of the “Exhibit E” to the
 26 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
 27 version at Docket No. 76-11, is attached hereto as Exhibit L.
 28        17.    A true and correct copy of the redaction version of the “Exhibit F” to the

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           DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF EX PARTE APPLICATION
Case 2:23-cv-09430-SVW-PD    Document 77-1     Filed 10/03/24   Page 5 of 5 Page ID
                                    #:621



  1 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
  2 version at Docket No. 76-12, is attached hereto as Exhibit M.
  3        18.   A true and correct copy of the redaction version of the “Exhibit G” to the
  4 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
  5 version at Docket No. 76-13, is attached hereto as Exhibit N.
  6        19.   A true and correct copy of the redaction version of the “Exhibit H” to the
  7 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
  8 version at Docket No. 76-14, is attached hereto as Exhibit O.
  9        20.   A true and correct copy of the redaction version of the “Exhibit I” to the
 10 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
 11 version at Docket No. 76-15, is attached hereto as Exhibit P.
 12        21.   A true and correct copy of the redaction version of the “Exhibit J” to the
 13 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
 14 version at Docket No. 76-16, is attached hereto as Exhibit Q.
 15        22.   A true and correct copy of the redaction version of the “Exhibit K” to the
 16 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
 17 version at Docket No. 76-17, is attached hereto as Exhibit R.
 18        23.   A true and correct copy of the redaction version of the “Exhibit L” to the
 19 Joint Statement of Unresolved Discovery Issues, originally filed as an unredacted
 20 version at Docket No. 76-18, is attached hereto as Exhibit S.
 21        I declare under penalty of perjury under the laws of the United States of
 22 America that the foregoing is true and correct. Executed on this 3rd day of October,
 23 2024, at Los Angeles, California.
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                                               Zachary C. Hansen
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           DECLARATION OF ZACHARY C. HANSEN IN SUPPORT OF EX PARTE APPLICATION
